The outstanding point for consideration of this court is whether or not a dormant and unenforceable judgment of a sister state can be made the basis of an action in this state. The plaintiff seemed to proceed upon the theory that the action upon the judgment in this state was tantamount to an action to revive the judgment and that such action could proceed in Montana as well as in Nebraska. That is not the law, which is well epitomized in the text in 34 C.J. 1106, wherein it is said: "By the weight of authority, a judgment which has been allowed to become dormant under the laws of the state where it was rendered cannot be enforced by an action in another state, since to allow such enforcement would be to give effect to that which had no effect in the state where the judgment was rendered." (Chapman
v. Chapman, 48 Kan. 636, 29 P. 1071; Tourtelot v. Booker, (Tex.Civ.App.) 160 S.W. 293; Ferguson-McKinney Drygoods Co.
v. Garrett, (Tex.Civ.App.) 235 S.W. 245; St. Louis TypeFoundry Co. v. Jackson, 128 Mo. 119, 30 S.W. 521; Baker v.Stonebraker, 36 Mo. 338; Nazro v. McCalmont Oil Co., 36 Hun (N.Y.), 296; 16 Stand. Ency. Proc. 389; see, also, Adams v.Stenehjem, 50 Mont. 232, 146 P. 469; 13 Am.  Eng. Ency. of Law, p. 1002; 34 C.J. 1105.)
The Nebraska supreme court, in determining the meaning of the phrase "dormant judgment" as used in its statute, declares inWhite v. Ress, 80 Neb. 749, 115 N.W. 301: "A judgment not satisfied, or barred by lapse of time, but temporarily *Page 42 
inoperative, so far as the right to issue execution is concerned, is usually called a dormant judgment." The court in that case makes it clear that the condition of dormancy renders the judgment unenforceable while that condition continues. (See, also, Farmers' State Bank v. Bales, 64 Neb. 870, 90 N.W. 945;Lincoln Upholstering Co. v. Baker, 82 Neb. 592, 118 N.W. 321;Denny v. Ross, 70 Kan. 720, 79 P. 502; Manley v. Mayer,68 Kan. 377, 75 P. 550; Bick v. Boyd, 124 Mo. App. 58,100 S.W. 1128.)
An action on the judgment does not obtain in Nebraska. It is revived in the manner set forth in Wright v. Sweet,10 Neb. 190, 4 N.W. 1043, by a summary proceeding. In any event, if an action be brought and not a motion be made, the court will consider the petition in the action only so far as it tends to answer the purpose of the motion. (Young v. Broken Bow,94 Neb. 470, 143 N.W. 742.)
Speaking of the effect of a revivor proceeding, which any proceeding in Nebraska amounts to, the Nebraska court says inSt. Paul Harvester Co. v. Faulhaber, 82 Neb. 336,117 N.W. 702: "While a revivor proceeding is not, in one sense, the commencement of a new action, it is the commencement of new and different proceedings, under the provisions of our statute for the revivor of a dormant judgment. The proceedings to revive a dormant judgment are instituted by the filing of a motion and the service of notice upon the judgment debtor." It is apparent that Nebraska does not contemplate any other result through her statutory proceeding after a judgment has become dormant, except the revivifying of the judgment. It is given a new lease of life.
The phrase "dormant judgment" has received definition a number of times. See the following cases: Denny v. Ross,70 Kan. 720, 79 P. 502; Bick v. Boyd, 124 Mo. App. 58,100 S.W. 1128.
It is settled law that a judgment of a sister state will not be given effect beyond the effect given that judgment under the laws of the sister state where rendered. (15 Stand. Ency. Proc. 649; Sistare v. Sistare, 218 U.S. 1, 54 L. Ed. 905, *Page 43 30 Sup. Ct. Rep. 682; Harris v. Balk, 198 U.S. 215,49 L. Ed. 1023, 25 Sup. Ct. Rep. 625; Hancock Nat. Bank v. Farnum,176 U.S. 640, 44 L. Ed. 619, 20 Sup. Ct. Rep. 506; Salmon v.Richardson, 30 Conn. 360, 79 Am. Dec. 255; Wood v.Watkinson, 17 Conn. 500, 44 Am. Dec. 562; Taylor v. Barron,30 N.H. 78, 64 Am. Dec. 281; Van Cleaf v. Burns, 118 N.Y. 549, 16 Am. St. Rep. 782, 23 N.E. 881; Babcock v. Marshall,21 Tex. Civ. App. 145, 50 S.W. 728.)
With these principles in mind, it is easy to demonstrate to this court that the Nebraska judgment being dormant at the time suit was brought upon it here, cannot be revived here without giving to the judgment a greater force and effect than it has in the state of Nebraska.
The Nebraska supreme court has put itself clearly on record with regard to the status of this judgment. In the first place, we have seen the judgment cannot be revived (a) because the time has gone by, and (b) because a proceeding of revivor would have to be brought in the court where the judgment was rendered. Now, the court holds that a judgment is barred by the statute of limitations so far as an action is concerned, unless the action be brought within five years from the date of entry of the judgment. (Holmes v. Webster, 98 Neb. 105, 152 N.W. 312;Armstrong v. Patterson, 97 Neb. 871, 152 N.W. 311.) The judgment is wholly incapable of being enforced in the state of Nebraska. It is without legal sufficiency. It is not only dormant, but dead. Under the widest stretch of comity this court should not feel constrained to give a Nebraska judgment efficiency beyond what it would possess at home.
Citing on the point that so long as the judgment is capable of being revived it may be the subject matter of a suit: Snell v.Rue, 72 Neb. 571, 117 Am. St. Rep. 813, 101 N.W. 10; Furer v.Holmes, 73 Neb. 393, 102 N.W. 764; Douglass v. Loftus,85 Kan. 720, Ann. Cas. 1931A, 378, L.R.A. 1915B, *Page 44 
797, 119 P. 74; Dahlstrom v. Walker, 33 Idaho, 374,194 P. 847; Gillespie v. Switzer, 43 Neb. 772, 62 N.W. 228;Young v. Broken Bow, 94 Neb. 470, 143 N.W. 742; Jones v.Nye, 56 Okla. 578, L.R.A. 1916E, 735, 156 P. 332; Baker v.Hummer, 31 Kan. 325, 2 P. 808; Phillips v. Western Elec.Co., 108 Okla. 274, 236 P. 425.
It has been repeatedly held by the court of Iowa and other courts that a suit on a dormant judgment will lie in the sister state. (David v. Porter, 51 Iowa, 254, 1 N.W. 528;Chaloupka v. Martin, 179 Iowa, 1173, 162 N.W. 567; Mahoney
v. State Ins. Co., 133 Iowa, 570, 9 L.R.A. (n.s.) 490, 110 N.W. 1041; J.L. Bieder Company v. Rose, 138 Minn. 121,164 N.W. 586.) The three Iowa cases, strange to relate, all deal with judgments from the state of Nebraska and were all suits brought on the Nebraska judgments which were dormant. These cases all hold that an action might be maintained in the state of Iowa on a dormant Nebraska judgment.
This action was instituted by the plaintiff to recover from the defendant the sum of $711.25, together with interest thereon at the rate of seven per cent from the fifth day of July, 1921, and costs of suit upon a judgment rendered by the county court of Box Butte county, Nebraska, in favor of plaintiff and against the defendant, entered on the fifth day of July, 1921. The defendant's answer denies the entry of the judgment for want of jurisdiction, and disclaims knowledge of the entry of the judgment and alleges among other things by way of further affirmative defense, that if any judgment is recorded against her in the Nebraska court it has been dormant and unenforceable by final process ever since the sixth day of July, 1926, by reason of the provisions of section 1480 of Cobbey's Annotated Statutes of Nebraska, then and now in force and effect, providing that if an execution be not sued out upon the judgment within five years from its date or where five years intervene between the date of the last execution and the time of issuing another, the judgment shall be considered *Page 45 
dormant. In this connection it is alleged that no execution was ever issued on the judgment, and it is therefore now dormant and unenforceable under the Nebraska statutes which are pleaded, and that the judgment has never been revived in the manner provided by the laws of Nebraska. The plaintiff's reply put in issue the statutes of Nebraska. The cause being at issue was regularly brought on for trial, on March 13, 1929, before a jury, some of the issues being established in plaintiff's favor through stipulation. At the conclusion of the trial, the jury were by the court duly instructed, and returned a verdict in favor of plaintiff for the sum of $1,192.56, covering the amount of the Nebraska judgment, interest and costs of suit. Judgment was entered upon the verdict from which the defendant has appealed.
The only question presented in disposition of this appeal is whether or not a dormant judgment of the sister state of Nebraska may be made the basis of this action in Montana.
We approach decision of the question presented bearing in mind[1-3]  the fundamental rules that full faith and credit shall be given to the judicial proceedings of a sister state (sec. 1, Art. IV, Const. U.S.), and that the vadidity of a judgment must be determined by the laws of the state where rendered. (Adams
v. Stenehjem, 50 Mont. 232, 146 P. 469.) It must be given the same effect in this state as it has under the laws of the state where rendered. (Mahoney v. State Ins. Co., 133 Iowa, 570, 9 L.R.A. (n.s.) 490, 110 N.W. 1041.)
The statute of Nebraska pleaded provides: "If execution shall not be sued out within five years from the date of any judgment that now is or may hereafter be rendered in any court of record in this state, or if five years shall have intervened between the date of the last execution issued on such judgment and the time of suing out another writ of execution thereon, such judgment shall become dormant, and shall cease to operate as a lien on the estate of the judgment debtor." (Sec. 1480, Cobbey's Ann. Stats. Neb. 1903.) And: "If a judgment become dormant, it may be revived in the *Page 46 
same manner as is prescribed for reviving actions before judgment." (Sec. 1463, Id.)
At the trial it was stipulated between the parties "that no execution was ever issued on the judgment sued upon in this action; and further that no action or proceeding of any nature whatsoever has ever been instituted in the courts of Nebraska for the revival of said judgment or upon said judgment." The record does not show when this action was instituted; however it appears that the plaintiff's amended complaint was filed on August 7, 1928, a little more than seven years after the rendition of the Nebraska judgment sued upon.
Our Montana statute (sec. 9028, Rev. Codes 1921) gives a right of action on a judgment within ten years; whereas, the lien of a judgment is expressly limited to six years. (Id., 9410; Marlowe
v. Missoula Gas Co., 68 Mont. 372, 219 P. 1111.) However, it is manifest that if the action is barred in Nebraska, it cannot be given greater efficacy here than would be accorded it there. It is fundamental that a foreign judgment cannot be given greater force or effect than is accorded it in the state where rendered. (34 C.J. 1106; Adams v. Stenehjem, supra.)
In construing and applying the statutes pleaded the supreme court of Nebraska has held that section 1480, above, is a statute of limitations and that an action on a judgment is barred in Nebraska after the lapse of five years. (Armstrong v.Patterson, 97 Neb. 871, 152 N.W. 311; Holmes v. Webster,98 Neb. 105, 152 N.W. 312, 313.) In the cases above cited we find that the supreme court of Nebraska has expressly overruled its former decision, previously followed, in the case of Snell v.Rue, 72 Neb. 571, 117 Am. St. Rep. 813, 101 N.W. 10. In the construction and application of the statutes of Nebraska, the last conclusions reached by the supreme court of that state are controlling upon this court, even though we were to entertain different views respecting the proper construction to be placed upon the language employed.
Since the action could not be successfully maintained in the Nebraska courts upon a plea of bar by limitation, the same *Page 47 
defense here pleaded precludes a recovery. Accordingly, the judgment rendered was erroneous. The petition for a rehearing having served its useful purpose, a rehearing is denied. The former opinion is withdrawn and this one substituted.
The judgment is reversed and the cause remanded to the district court of Fergus county, with direction to enter judgment dismissing the plaintiff's complaint. Remittitur will issue forthwith.
MR. CHIEF JUSTICE CALLAWAY and ASSOCIATE JUSTICES MATTHEWS and FORD concur.